Case No. 1:15-cv-02106-RBJ Document 181 filed 07/13/18 USDC Colorado pg 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


  Civil Action No.: 15-cv-2106-RBJ
  (Consolidated with Nos. 15-cv-2686, 16-cv-834, and 16-cv-1676, all
  filings in White v. DaVita Inc., 15-cv-2106)


  KATHLEEN WHITE and TREVOR WHITE, individually and on behalf
  of their marital community,

         Plaintiffs,

                 v.

  DAVITA INC.,

         Defendant.


            PLAINTIFFS’ MOTION FOR ENTRY OF FINAL JUDGMENT

       Pursuant to D.C. Colo. L. Civ. R. 7.1(a), Plaintiffs’ counsel conferred with defense

counsel prior to the filing of this motion. While specific objections were resolved, DaVita Inc.

wishes to include that it will oppose entry of judgment and it will be filing an opposition.

       Now come Plaintiff Frankquin Hardin, individually and as Personal Representative of

the Estate of Deborah Hardin; Plaintiff Christopher Menchaca, individually and as Personal

Representative of the Estate of Irma Menchaca; and Plaintiff Sherri Saldana, individually and

as Personal Representative of the Estate of Gary Gene Saldana, to file this Motion for Entry of

Final Judgment against Defendant DaVita Inc. This Motion is supported by the July 6, 2018

Declaration of Molly Booker, attached as Exhibit A.

I.     Plaintiff Saldana is entitled to pre- and post-judgment interest.

       Prejudgment interest, under California Civil Code Section 3291 and Section 998, is

established at 10% per annum for the compensatory damages of $1,500,000, calculated from

                                                 1
Case No. 1:15-cv-02106-RBJ Document 181 filed 07/13/18 USDC Colorado pg 2 of 5




May 19, 2017, the date of Plaintiff Saldana’s Offer of Judgment, until the date the Judgment is

satisfied.

        On the day of the verdict, Saldana became entitled to 7% interest on the $125,000,000

punitive award, until the day judgment enters. See Cal. Civ. Code Section 3287; see also Bullock

v. Philip Morris USA, Inc., 198 Cal. App. 4th 543, 573–74, 131 Cal. Rptr. 3d 382, 406– 07

(2011). Thus, from the verdict until judgment enters, Plaintiff Saldana is entitled to a daily rate of

interest of $23,972.60.

        The sum of the $125,000,000 punitive award plus the daily rate of interest for each day

between verdict and entry of judgment is also subject to post-judgment interest from entry of

judgment until the judgment is satisfied, as set forth in 28 U.S.C.A. § 1961.

        Plaintiff Saldana moves this Court for entry of Judgment, as stated above and as

presented in Exhibit B.

II.      Plaintiff Menchaca is entitled to pre- and post-judgment interest.

        Prejudgment interest, under California Civil Code Section 3291 and Section 998, is

established at 10% per annum for the compensatory damages of $2,000,000, calculated from

May 19, 2017, the date of Plaintiff Menchaca’s Offer of Judgment, until the date the Judgment is

satisfied.

        On the day of the verdict, Menchaca became entitled to 7% interest on the $125,000,000

punitive award, until the day judgment enters. See Cal. Civ. Code Section 3287; see also Bullock

v. Philip Morris USA, Inc., 198 Cal. App. 4th 543, 573–74, 131 Cal. Rptr. 3d 382, 406– 07

(2011). Thus, from the verdict until judgment enters, Plaintiff Menchaca is entitled to a daily rate

of interest of $23,972.60.




                                                  2
Case No. 1:15-cv-02106-RBJ Document 181 filed 07/13/18 USDC Colorado pg 3 of 5




       The sum of the $125,000,000 punitive award plus the daily rate of interest for each day

between verdict and entry of judgment is also subject to post-judgment interest from entry of

judgment until the judgment is satisfied, as set forth in 28 U.S.C.A. § 1961.

       Plaintiff Menchaca moves this Court for entry of Judgment, as stated above and as

presented in Exhibit C.

III.   Plaintiff Hardin is entitled to post-judgment interest.

       Plaintiff Hardin is entitled to post-judgment interest on compensatory and punitive

damages, which total $130,000,000, from the entry of judgment until the judgment is

satisfied, as set forth in 28 U.S.C.A. § 1961.

       Plaintiff Hardin moves this Court for entry of Judgment, for $130,000,000, and post-

judgment interest at the specified federal rate until the Judgment is satisfied, as presented in

Exhibit D.

       In sum, Plaintiffs, and each of them, respectfully request the Court to direct the Clerk of

Court to enter the Final Judgment, as stated above and as presented in Exhibits B-D.

 Dated: July 13, 2018                            By: /s/ Robert B. Carey
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                                                  3
Case No. 1:15-cv-02106-RBJ Document 181 filed 07/13/18 USDC Colorado pg 4 of 5




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                                      4
Case No. 1:15-cv-02106-RBJ Document 181 filed 07/13/18 USDC Colorado pg 5 of 5




                                    CERTIFICATE OF SERVICE

      I hereby certify that on this 13th day of July, 2018, a true and correct copy of the foregoing

 was filed with the U.S. District Court ECF/PACER system, which will send an electronic copy

 via email to the following:

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                                                 5
